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                UNITED STATES DISTRICT COURT
        NORTHERN DISTRICT OF ILLINOIS – EASTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
                                        )
      vs.                               )       19 CR 226-2
                                        )       Hon. Virginia Kendall
                                        )
                                        )
JAN KOWALSKI                            )

   DEFENDANT’S OBJECTIONS TO PRESENTENCE INVESTIGATION
          REPORT AND SENTENCING MEMORANDUM

      The defendant, Jan Kowalski, pursuant to a written plea agreement, pled

guilty to concealing assets from a bankruptcy trustee, in violation of Title 18,

United States Code, Section 152(1). She is scheduled to be sentenced by this

Honorable Court on February 3, 2023. Per Title 18, United States Code, Section

3553(a), the Court shall impose a sentence sufficient, but not greater than

necessary, and shall consider the nature and circumstances of the offense and the

history and characteristics of the defendant. The defendant respectfully makes the

following objections to the Presentence Investigation Report prepared in this case,

and asks this Court to consider the below-listed factors when imposing an equitable

sentence.

Base Offense Level – Paragraph 18

      Kowalski agrees with the probation officer’s calculations as to a base offense

level of 6, pursuant to Section 2B1.1(a)(2) of the Guidelines.

Specific Offense Characteristic: Loss Amount – Paragraph 19




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      Kowalski submits that her conduct did not cause a loss of more than

$250,000. On February 21, 2019, after conducting a trial over four days on the

Trustee’s Motion for an Accounting and Turnover of Estate Funds Against Jan

Kowalski and for Rule to Show Cause Against Jan Kowalski and the Debtor (Robert

Kowalski), the bankruptcy judge found that the disputed funds withdrawn from

Jan’s IOLTA account were property of Robert’s bankruptcy estate. The bankruptcy

judge then entered an order requiring Jan and Robert to turn over $250,000 to the

Trustee. See Case Number 18-9130, Dkt. 436 and 449. Accordingly, since the loss

amount did not exceed $250,000, a ten-level increase is appropriate, per Section

2B1.1(b)(1)(F) of the Guidelines.

Specific Offense Characteristic – Fraud During Bankruptcy Proceeding –
Paragraph 20

      Kowalski agrees that this two-point enhancement applies, pursuant to

Section 2B1.1(b)(9)(B).

Specific Offense Characteristic for Sophisticated Means Inapplicable –
Paragraph 21

      Kowalski objects to a sophisticated means enhancement under Section

2B1.1(b)(10)(C). The conduct in this case did not amount to especially complex or

intricate actions pertaining to the execution or concealment of the offense.

Kowalski did not know or have reason to know that the trust that she believed her

brother had created was fictitious. Robert had previously created dozens of

legitimate trusts, so it was reasonable for Jan to believe that the trust used in this

case was likewise kosher. Moreover, the use of her IOLTA account and creation of



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ledgers/retainer agreements were not particularly complex or especially intricate

acts, and did not show a greater level of planning or concealment. Rather, that

conduct was akin to garden variety fraud. Thus, Jan is similar to the defendant in

United States v. Hart, 324 F.3d 575, 579-80 (8th Cir. 2003), where the Court found

that there was no sophisticated concealment of the offense.

Role in the Offense – Paragraph 23

      Kowalski represented her brother for less than a week in the bankruptcy

case. Her legal skills were not integral to the concealment that occurred, and did

not significantly facilitate it. Instead, the bulk of the concealment happened before

Jan briefly appeared on her brother’s behalf. Jan was not a bankruptcy attorney,

and had minimal knowledge of bankruptcy law. As such, the Use of Special Skill

enhancement under Section 3B1.3 should not apply.

      Alternatively, Kowalski submits that if the Court finds a sophisticated means

enhancement to be applicable, imposing a 3B1.3 enhancement would be duplicative

and improper.

Adjusted Offense Level – Paragraph 25

      Under Kowalski’s calculations, an adjusted offense level of 18 is proper.

Acceptance of Responsibility – Paragraphs 27-28

      A three-point decrease for acceptance of responsibility and timely notification

is warranted. Kowalski has shown a recognition and affirmative acceptance of

responsibility for her actions. She saved the Government and this Court time and




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resources by providing timely notification of her intention to plead guilty. A total of

three points should be deducted, per Sections 3E1.1(a) and (b).

Total Offense Level – Paragraph 29

      Level 15 accurately states Kowalski’s Total Offense Level.

Criminal History – Paragraph 40

      Kowalski has zero criminal history points, and is properly placed in criminal

history category I.

Guideline Range – Paragraph 109

      Based on a Criminal History Category of I, and a total offense level of 15, the

defense submits that Kowalski’s Guideline range of imprisonment should be 18 to

24 months.

Statutory Provisions – Paragraph 108

      There is a maximum term of five years’ imprisonment for a conviction under

18 U.S.C. § 152(1).

History and Characteristics – Paragraphs 52-69

      Jan was born in Chicago and had a nice childhood. She enjoyed positive

relationships with her parents and two brothers while growing up. Her father

worked as a civil engineer, and her mom worked at her dad’s business. Jan lost her

father in 2012 to a heart attack. She remains close with her mom, Rosemary, who

resides with Jan in La Grange Highlands. Rosemary has numerous health

ailments, including a thyroid disorder and acid reflux disease. In addition,




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Rosemary has suffered multiple heart attacks, and underwent a triple bypass

surgery. Jan helps care for her mother, who is in her 80s.

      Jan did not speak with her brother, Robert, from approximately 1980 until

2015. She has not spoken with her brother, William, since 2005.

      Jan has been married two times. She has two children, 30-year-old Daniel

and 23-year-old Candyce (Stella). Their father struggled with bi-polar disorder

throughout his life. He had been jailed for failing to pay child support multiple

times. He passed away in 2020. Her second marriage, to Terence McDonald, ended

in 2007. Mr. McDonald was interviewed by probation and reported that Jan is a

“great girl.” However, Mr. McDonald believes that Jan and her family have mental

health problems, and her kids were out of control. Mr. McDonald noted that Jan’s

children are heavily dependent on her. Without Jan around, Daniel and Stella

would unravel.

      Daniel has been diagnosed with bi-polar depression and ADHD since the

third grade, and Jan is his legal guardian. Daniel has been abusing heroin for

several years, and has had multiple stints in inpatient substance abuse treatment.

Over the years, Daniel has incurred several drug-related arrests, and has stolen his

mother’s belongings to sell them to support his drug habit. Daniel has threatened

and attempted self-harm in the past. Jan is his sole support and takes care of him

as best as she can. Recently, Daniel suffered a near fatal overdose, was hospitalized

for weeks, and now experiences delusions.




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      Stella had her first child in October of 2022. Stella and the baby live with

Jan, and Jan is helping her young daughter take care of her newborn son. Jan is

typically on baby duty every day until 3pm, when the baby’s father gets off of work

and assists. Stella has also been treated for bi-polar depression and obsessive-

compulsive disorder. She has abused cocaine, marijuana, and alcohol in the past,

but has been clean since she became pregnant. Jan enjoys a strong relationship

with her daughter and new grandson, Theodore, and relishes her new role as a

grandmother.

Physical Health – Paragraphs 70-79

      Jan was involved in a car accident in 1992, which resulted in Daniel being

born early. She had to have an emergency C-section for Stella’s birth in 1999, and

suffered a damaged bladder. She still experiences urinary tract infections due to

that. For the past four years, Jan has experienced left knee pain, and may require

surgery for a torn ligament. Records from her orthopedic center confirm that Jan

has a torn meniscus, possible Morton’s neuroma, and a proximal tibia stress

fracture. She has been engaged in physical therapy with the hopes of avoiding

surgery.

      In addition, Jan takes Levothyroxine for hypothyroidism. She suffers from

plantar fasciitis in her right foot. After being attacked by her brother Robert’s

girlfriend in October of 2020, Jan sustained head and back injuries. She was

subsequently treated with pain medication and lidocaine patches. She still has

chronic spinal pain from that assault. In February of 2021, Jan was involved in an



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automobile accident, during which she fractured a rib and her daughter broke her

pelvis in three places. Jan will turn 60 years old this year, and her plethora of

health problems require constant attention.

Mental Health – Paragraphs 80-86

       In or around 1994, Jan first met with a mental health professional to treat

depression and adjustment issues. Jan was referred for a mental health

assessment in connection with her admission to the Illinois Bar. She attended

weekly counseling sessions from 1994 to 2000, was diagnosed with depression, and

was prescribed Wellbutrin. She had to stop attending counseling because she could

no longer afford to go. In 2007, after years of treatment, Jan was finally admitted

to practice law in Illinois.

       Following her release from custody in 2019, Jan was referred for mental

health treatment due to anxiety and depression. She has been attending weekly

counseling sessions at Pillars Community Health, and has been working with the

same counselor for the past two and a half years. Jan was admitted to the Rush

University Medical Center Psychiatry Department in January of 2020, and was

diagnosed with generalized anxiety disorder, a major depressive disorder, and panic

attacks. She was then prescribed three psychotropic medications. Jan was

admitted again at RUMC Psychiatry in April and June of 2020 after contemplating

suicide.

       Presently, anxiety and depression persist for Jan. She often lacks enjoyment

in life, and has a bleak outlook for her future. She had another suicidal ideation in



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early 2022, and entered into an agreement with her therapist to go to a suicide

prevention center whenever she considered suicide. Jan continues to attend weekly

counseling sessions, and will do so as long as needed.

Substance Abuse – Paragraphs 87-90

       Jan has had periods of problematic alcohol use in the past, most recently

from 2018 to 2021. She has experimented with illegal drugs, but her use was short-

lived. She has used cannabis regularly to curb panic attacks.

Education and Special Skills – Paragraphs 90-93

      Jan graduated near the top of her class from Benet Academy in 1981.

Thereafter, she earned a psychology degree from the University of Illinois at

Chicago in 1987. She obtained her law degree from John Marshall Law School in

1992, graduating with high honors. Since her application to practice law in Illinois

was flagged for mental health concerns, Jan had to wait 15 years before becoming

an attorney.

Employment History – Paragraphs 94

      Jan worked as a paralegal for several years while waiting to become an

attorney. From 2007 to 2015, Jan worked for two different law firms as an

attorney. She went out on her own in 2015, focusing mainly on family law, until her

license to practice law was suspended in connection with this case. She has been

mostly unemployed for the past three years, subsisting on food stamps and public

aid. She has dabbled in furniture restoration, and was able to sell several pieces on

eBay to earn a meager income. Having lost her law license, Jan cannot find work.



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She had to cease employment at Amazon due to her health, as she was unable to

physically handle the rigors of the job.

Restitution – Paragraph 120

        Upon receipt of the Government’s victim spreadsheet, the defense will submit

its argument as to the proper restitution amount. It should be noted that a

judgment in the amount of $250,000 has already been entered against Jan by the

bankruptcy court. Thus, the restitution order in this case should take into account

that sum, so Jan is not ordered to pay the same money back twice.

Financial Condition – Paragraphs 100 -107

        Presently, Kowalski’s financial condition is precarious, and her net worth is

nearly a negative $400,000. Jan has a number of judgments outstanding, and no

income to satisfy them.

Supervised Release Conditions – Pages 26 to 31

        Kowalski has no objection to the mandatory conditions recommended by the

probation office.

        Kowalski objects to Discretionary Condition 16 in that it permits visits at

work.

        Kowalski has no objection to the special conditions recommended by the

probation office.

Section 3553 Factors

Nature and Circumstances of the Offense




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        After not speaking with her brother, Bob, for more than three decades, Jan

inopportunely ran into him at the Daley Center in 2015. She agreed to do some

work for him, and after some time the two shared office space. When Bob filed for

bankruptcy, he eventually enlisted Jan to hide money for him, and she agreed. She

knows that concealing those funds was improper, and regrets her poor decision to

help her brother. She has lost her law license, and incurred much shame. She also

lost her freedom for three and a half months, and presently has no source of income.

She realizes the impact this case has had on numerous others.

History and Characteristics of Jan Kowalski

        Jan grew up in a stable home and received a high-quality education, but she

has a long history of mental health concerns. She has been married twice, and

cares for her elderly mother, two adult children, and a grandchild. Those four

individuals heavily rely on Jan, and her absence would cause an enormous void in

their lives.

        Undoubtedly, Kowalski regrets the decisions she made that landed her before

this Court for sentencing. She realizes that her mistakes have negatively affected a

number of people. Her prosecution in this case has been life-changing. Moving

forward, she is committed to learning from her poor choices and living a law-abiding

life.

        It should be noted that Jan used her law license to serve others. She

provided pro bono representation for minority inmates who were seeking suffrage.

That case eventually reached the U.S. Supreme Court on appeal. In addition, Jan



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wrote several articles for the Chicago Daily Law Bulletin. She also handled a

number of child custody cases on a pro bono basis.

Departure Under Section 5H1.6

      Jan takes care of her two adult children, who have mental health issues, as

well as her elderly mother. Her family responsibilities warrant a departure in this

case. Should Jan be sentenced to prison, her family would suffer a direct and

substantial loss of the essential caretaking that she provides to them. Considering

the unique mental health challenges her children experience, a brand-new

grandchild that needs to be raised, and the deteriorating health of her mother, the

loss of Jan’s caretaking and support substantially exceeds the harm ordinarily

incident to incarceration for a similarly situated defendant. There is no reasonably

available and effective substitute for Jan’s care, and she would not be replaceable.

A term of probation would effectively address the loss of caretaking, as Jan would

then be able to care for her children, grandchild, and mother, while still being under

the supervision of the probation office and subject to the stringent conditions that

would be placed on her.

Prior Custody

      For essentially the same conduct that led to her indictment in this case, Jan

spent three and a half months in jail due to contempt orders entered by the

bankruptcy court. While in jail in Kendall County, Jan was the victim of an attack

by a fellow inmate. That jail time has more than deterred Jan from any future

misconduct.



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Conclusion

      Kowalski understands that the sentence must reflect the seriousness of the

offense, promote respect for the law, and provide just punishment. Her arrest and

conviction have adequately deterred her, and others who may be considering similar

acts. The public does not need to be protected from any further crimes by Jan

Kowalski. Kowalski is not in need of educational or vocational training.

      Restitution will be ordered in this case. Essentially, this Court is left with

fashioning a sentence that it feels will fairly punish the offense conduct.

Considering Kowalski’s history and characteristics, and the defense submits that a

sentence of probation is sufficient, but not greater than necessary, to accomplish the

sentencing objectives.

      WHEREFORE, based on the foregoing, and taking into consideration the

unique circumstances of Jan Kowalski and her family, and the nature of Jan’s

misconduct, the defense respectfully asks this Court for leniency when imposing

sentence.

                                                      Respectfully submitted,



                                                      s/ William S. Stanton


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